                          IN THE SUPREME COURT OF THE STATE OF NEVADA


                   VINCENT T. SCHETTLER; AND                            No. 66725
                   VINCENT T. SCHETTLER, TRUSTEE
                   OF VINCENT T. SCHETTLER LIVING
                   TRUST,                                                  FILED
                   Appellants,
                   vs.
                                                                            MAY 1 2 2016
                   RALRON CAPITAL CORPORATION, A                              IE       EMAN


                   NEVADA CORPORATION,                                  5'.t
                                                                              P
                                                                                   i 1;4/40
                                                                                   Y LERK
                   Respondent.
                   VINCENT T. SCHETTLER; AND                            No. 67035
                   VINCENT T. SCHETTLER, TRUSTEE
                   OF THE VINCENT T. SCHETTLER
                   LIVING TRUST,
                   Appellants,
                   vs.
                   RALRON CAPITAL CORPORATION, A
                   NEVADA CORPORATION,
                   Respondent.

                                           ORDER OF AFFIRMANCE
                              These are consolidated appeals from a district court summary
                   judgment entered on remand in a contract action and a post-judgment
                   award of attorney fees and costs. Eighth Judicial District Court, Clark
                   County; Elissa F. Cadish, Judge.
                   Docket No, 66725
                              Appellants first contend that the district court lacked subject
                   matter jurisdiction because respondent failed to establish that it had
                   standing to enforce the Loan Documents. We disagree.       See Arguello v.
                   Sunset Station, Inc.,   127 Nev. 365, 368, 252 P.3d 206, 208 (2011)
                   (recognizing that "[s]tanding is a question of law reviewed de novo"). In
                   conjunction with respondent's first motion for summary judgment,
                   respondent produced an affidavit in which the affiant attested that
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                 respondent acquired the Loan Documents from the FDIC. This evidence,
                 particularly in the absence of contrary evidence, was sufficient to
                 demonstrate that respondent had standing to enforce the Loan
                 Documents. 1 Thus, in granting respondent's second motion for summary
                 judgment, the district court correctly determined that there was an
                 evidentiary basis to support respondent's status as the real party in
                 interest with standing to enforce the Loan Documents.      See id. (observing
                 that the issue of standing "overlaps with" the inquiry into whether a party
                 is a real party in interest under NRCP 17(a)).
                             Similarly, the district court also correctly found that
                 appellants had not previously challenged that evidentiary basis and had
                 also previously acknowledged that respondent was the real party in
                 interest. Based on those findings, the district court was within its
                 discretion in denying appellants' request to conduct additional discovery
                 on the issue of whether respondent was the real party in interest.         Cf.
                 Choy v. Ameristar Casinos, Inc., 127 Nev. 870, 872, 265 P.3d 698, 700                 (2011) (recognizing that a district court has the discretion to grant or deny
                 a continuance of a motion for summary judgment to allow further
                 discovery). Accordingly, we conclude that appellants' argument regarding
                 subject matter jurisdiction does not warrant reversal of the district court's
                 summary judgment.



                       'Although appellants suggest for the first time on appeal that this
                 evidence was not "admissible," they do not articulate a basis for that
                 suggestion. Cf. Edwards v. Emperor's Garden Rest., 122 Nev. 317, 330
                 n.38, 130 P.3d 1280, 1288 n.38 (2006) (explaining that this court need not
                 consider arguments that are not cogently made and supported by salient
                 authority).

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                              Appellants next contend that an issue of material fact exists
                as to whether respondent 2 waived its contractual rights to freeze Vincent
                Schettler's line of credit and to declare him in default. Specifically,
                appellants contend that a waiver occurred by virtue of (1) respondent
                sending the Commitment Letter, (2) disbursing two draws on the line of
                credit at a time when respondent was aware of Schettler's updated
                financial condition; or, alternatively (3) accepting an interest payment
                from Schettler. We disagree.     See Wood v. Safeway, Inc.,   121 Nev. 724,
                729, 121 P.3d 1026, 1029 (2005) (reviewing de novo a district court's
                decision to grant summary judgment). The district court correctly
                determined that neither respondent's Commitment Letter nor its
                acceptance of an interest payment was conduct inconsistent with
                respondent's contractual rights under the Loan Documents.     Cf. Hudson v.
                Horseshoe Club Operating Co., 112 Nev. 446, 457, 916 P.2d 786, 792 (1996)
                ("Waiver occurs where a party knows of an existing right and . . . exhibits
                conduct so inconsistent with an intent to enforce the right as to induce a
                reasonable belief that the right has been relinquished."). And to the
                extent that respondent's disbursement of two draws could plausibly be
                construed as inconsistent conduct, we agree with the district court's
                construction and application of the Business Loan Agreement's "No
                Waiver By Lender" provision. 3 See May v. Anderson, 121 Nev. 668, 672,


                      2 Forthe sake of clarity, we refer to Silver State Bank and
                respondent collectively as "respondent."

                      3 We  have not considered appellants' argument, raised for the first
                time in their reply brief, that the "No Waiver By Lender" provision could
                itself be waived. See Francis v. Wynn Las Vegas, LLC, 127 Nev. 657, 671
                n.7, 262 P.3d 705, 715 n.7 (2011).

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                119 P.3d 1254, 1257 (2005) ("Contract interpretation is subject to a de
                novo standard of review.").
                            Appellants lastly contend that an issue of material fact exists
                as to whether respondent anticipatorily breached the Loan Documents.
                Specifically, appellants contend that a breach occurred because
                respondent sent the Default Letter at a time when (1) Schettler was
                current on his interest payments, and (2) the offer in the Commitment
                Letter was still pending. Again, we disagree. Appellants have not
                identified any contractual language that prohibited respondent from
                freezing Schettler's line of credit and declaring him in default at a time
                when he was current on his interest payments. To the contrary, the
                district court found that there was evidence to support at least eight
                occurrences that constituted a default under the Loan Documents, none of
                which appellants contest on appeal. Similarly, appellants have not
                identified any contractual language suggesting that the Commitment
                Letter was a part of the Loan Documents, such that an arguable breach of
                the Commitment Letter would constitute a breach of the Loan Documents.
                The district court therefore correctly determined that no issue of material
                fact existed regarding whether respondent anticipatorily breached the
                Loan Documents. See Wood, 121 Nev. at 729, 121 P.3d at 1029; May, 121
                Nev. at 672, 119 P.3d at 1257.
                            In light of the foregoing, we affirm the district court's
                summary judgment being challenged in Docket No. 66725.
                Docket No. 67035
                            Aside from contending that the award of attorney fees and
                costs should be reversed if the summary judgment is reversed, appellants
                make no arguments regarding the propriety of that award. Thus, in light

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                 of our resolution of the appeal in Docket No. 66725, we affirm the award of
                 fees and costs being challenged in Docket No. 67035.
                             It is so ORDERED.


                                                                    Ao.A                 , J.
                                                               Harplesty



                                                               Saitta


                                                                                         , J.




                 cc:   Hon. Elissa F. Cadish, District Judge
                       Schwartz Flansburg PLLC
                       Feldman Graf
                       Robison Belaustegui Sharp &amp; Low
                       Eighth District Court Clerk




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